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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                                 )
INTERACTIVE GAMES LLC,                           )
                                                 )
                        Plaintiff,               )
                                                 )    C.A. No. 19-1105-RGA
v.                                               )
                                                 )
                                                 )    JURY TRIAL DEMANDED
DRAFTKINGS, INC.,                                )
                                                 )
                  Defendant.                     )
                                                 )
                                                 )

                    STIPULATION AND ORDER STAYING LITIGATION

        IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto,

subject to the approval of the Court, that the above-captioned action be stayed for ninety (90)

days to permit the parties to explore a resolution. The hearing scheduled for May 20, 2020 on

Defendant’s Motion to Dismiss shall be rescheduled for a date and time at the Court’s

convenience after the expiration of the stay.

Dated: May 4, 2020

McCARTER & ENGLISH, LLP                              MORRIS, NICHOLS, ARSHT & TUNNELL
                                                     LLP
/s/ Daniel M. Silver
Michael P. Kelly (#2295)                             /s/ Roger D. Smith
Daniel M. Silver (#4758)                             Rodger D. Smith (#3778)
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                          4 day of May, 2020.
        SO ORDERED this _____



                           /s/ Richard G. Andrews
                          ____________________________________________
                          THE HONORABLE RICHARD G. ANDREWS




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